            Case 3:06-cr-00266-CRB           Document 61        Filed 06/16/06      Page 1 of 3



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 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                    )       No. CR 06-0266 CRB
                                                  )
11                  Plaintiff,                    )       DETENTION ORDER
                                                  )
12                  v.                            )
                                                  )
13   JASON PETERSON,                              )
                                                  )
14                Defendant.                      )

15

16          On June 13, May 18, April 27, 2006, the Court held detention hearings and received evidence in

17   the form of the United States' proffer, the defendant's proffer, and a report by United States Pretrial

18   Services.   After considering the evidence and the parties' arguments, the Court orders the defendant

19   detained for the following reasons:

20          1. The defendant is charged in a federal indictment with conspiracy, multiple counts of distribution

21   and possession with intent to distribute more than 50 grams of methamphetamine, and use of a telephone

22   to facilitate same in violation of 21 U.S.C. §§ 846, 841 (a), and 843 (b), as well as a money laundering

23   charge. The controlled substance offenses each carry a maximum sentence of life in prison. Accordingly,

24   under 18 U.S.C. § 3142(e), it is presumed, subject to rebuttal by the defendant, that "no condition or

25   combination of conditions will reasonably assure the appearance of the person as required and the safety

26   of the community."



     DETENTION ORDER
             Case 3:06-cr-00266-CRB            Document 61         Filed 06/16/06       Page 2 of 3



 1          2. The defendant failed to rebut section 3142(e)'s presumption. Indeed, in addition to the

 2   presumption the following additional factors indicate that he will not obey reasonable conditions of release

 3   and therefore and poses a danger to the community:

 4                   a. The federal indictment is based on information gained from a lawful wiretap which

 5   showed trafficking in multiple pound quantities of methamphetamine over a period of several months. The

 6   defendant was overheard in telephone and the conversations led to proof the defendant, on multiple

 7   occasions, distributed methamphetamine.

 8                   b. At the time of his illegal activities, the defendant was on pretrial release from the District

 9   of Nevada on serious Racketeering charges. The primary condition of the defendant’s release was his

10   promise to the Court that he would not commit any further crimes. Probable cause exists that defendant

11   violated those release conditions. The District of Nevada has moved to violate his pretrial release based

12   upon his alleged criminal activities in this district while he was on their release.

13                   c. The defendant was convicted in 1995 in San Francisco state court of felony illegal

14   possession of a firearm and possession of a destructive devise and sentenced to 2 years in state prison.

15                   d. The defendant’s parole was violated several times after his release from state prison.

16          3. Although the defendant and his family offered to post property worth more than $1,000,000,

17   this would be insufficient to overcome the legal presumption of detention given defendant’s illegal

18   activities while on federal pretrial release in Nevada..

19          4. Taken together these facts establish by clear and convincing evidence that no condition or

20   combination of conditions will reasonably assure defendant’s appearances or the safety of the community

21   as required .

22          5. The Court continued the matter until July 5, 2006 at 2:15 p.m. before United States District

23   Court Judge Charles R. Breyer.

24   ///

25   ///

26   ///



     DETENTION ORDER                                        2
            Case 3:06-cr-00266-CRB          Document 61         Filed 06/16/06     Page 3 of 3



 1          Accordingly, the Court orders the defendant detained as to the pending matters before Judge Breyer

 2   and the District of Nevada. Due to the present prosecution in this District, the defendant is not ordered

 3   removed to the District of Nevada at this time.

 4          IT IS SO ORDERED.

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 6   DATED: June 16, 2006                                   ______________________________
                                                            JAMES LARSON
 7                                                          Chief Magistrate Judge

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     DETENTION ORDER                                    3
